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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION

      UNITED STATES OF AMERICA

      vs.                                           CASE NO. 6:06-CR-207-ORL-19KRS

      STACIE LETICE MUNOZ

                                                ORDER

             This case having been considered by the Court on Report and Recommendation

      Concerning Plea of Guilty (Doc. No. 116, filed January 5, 2007) and no objection thereto

      having been filed, it is ORDERED:

             1.      The Report and Recommendation of the United States Magistrate Judge (Doc.

      No. 116) is ACCEPTED, AFFIRMED AND ADOPTED.

             2.      Defendant Stacie Letice Munoz has entered a plea of guilty to Count Four of

      the Indictment knowingly, intelligently and voluntarily. Such plea is accepted, and

      Defendant is adjudicated guilty of Count Four of the Indictment.

             3.      Ruling on acceptance of the Plea Agreement (Doc. No. 105, filed December

      22, 2006) is deferred until the time of sentencing.

             DONE AND ORDERED at Orlando, Florida, this            5th    day of January, 2007.




      Copies to:
      Assistant United States Attorney
      Attorney for Defendant
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      United States Marshal
      United States Probation
      United States Pretrial Services
      Defendant
      Courtroom Deputy
